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           In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 14-1150V
                                       Filed: April 9, 2015
                                       Not for Publication

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BARBARA BUDGAKE,                                   *
                                                   *
                                                   *
                         Petitioner,               *        Ruling on Entitlement; Concession;
                                                   *        Influenza Vaccine (“Flu”);
v.                                                 *        Shoulder Injury Related to
                                                   *        Vaccine Administration (“SIRVA”);
                                                   *        Special Processing Unit (“SPU”)
SECRETARY OF HEALTH                                *
AND HUMAN SERVICES,                                *
                                                   *
             Respondent.                           *
*************************

Lawrence Disparti, Disparti Law Group, PA, Holiday, FL, for petitioner.
Justine Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

      On November 25, 2014, Barbara Budgake filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. The petition alleges that as a result of an influenza (“flu”)
vaccination on January 11, 2013, petitioner suffered a left shoulder injury. Petition at 1-
3. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On April 7, 2015, respondent filed her Rule 4(c) Report [“Respondent’s Report”],
in which she concedes that petitioner is entitled to compensation in this case.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, it will be
posted on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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Respondent’s Report at 4. Specifically, respondent concedes that “a preponderance of
the evidence establishes that petitioner’s injury is consistent with a shoulder injury
related to vaccine administration (“SIRVA”),” and “is compensable as a ‘caused-in-fact’
injury under the Act.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                 s/Denise K. Vowell
                                 Denise K. Vowell
                                 Chief Special Master




                                           2
